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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               Case No.:
  FABIO ARAUJO DOS SANTOS,

                 Plaintiff,

  vs.

  MICHAEL CAL, individually,
  LEONARDO MEMBRENO, individually, and
  the FLORIDA INTERNATIONAL UNIVERSITY
  BOARD OF TRUSTEES, a Florida state agency,

                 Defendants.
                                                         /

                                            COMPLAINT

         1.      This is a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorney’s fees, against MICHAEL CAL, individually, LEONARDO

  MEMBRENO, individually, and the FLORIDA INTERNATIONAL UNIVERSITY BOARD OF

  TRUSTEES, a Florida state agency.

         2.      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth and

  Fourteenth Amendments to the United States Constitution. The United States District Court for the

  Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1331

  and 28 U.S.C. § 1343. Plaintiff further invokes the supplemental jurisdiction of the United States

  District Court to hear pendant State tort claims arising under State law, pursuant to 28 U.S.C. §

  1367(a).

         3.      Plaintiff has fully complied with all conditions precedent to bringing this action

  imposed by the laws of the State of Florida, and particularly by the provisions of § 768.28 of the

  Florida Statutes.
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                                              PARTIES

         4.      Plaintiff FABIO ARAUJO DOS SANTOS [hereinafter “Plaintiff” or “SANTOS” is

  a resident of Broward County, state of Florida.

         5.      At all times referred to herein, Defendant MICHAEL CAL [hereinafter CAL or

  Defendant CAL] was a police officer for Defendant FLORIDA INTERNATIONAL UNIVERSITY

  BOARD OF TRUSTEES and was acting under color of law, and in such capacity as an agent,

  servant, and employee of Defendant FLORIDA INTERNATIONAL UNIVERSITY BOARD OF

  TRUSTEES.

         6.      At all times referred to herein, Defendant LEONARDO MEMBRENO [hereinafter

  MEMBRENO or Defendant MEMBRENO] was a police officer for Defendant FLORIDA

  INTERNATIONAL UNIVERSITY BOARD OF TRUSTEES and was acting under color of law, and

  in such capacity as an agent, servant, and employee of Defendant FLORIDA INTERNATIONAL

  UNIVERSITY BOARD OF TRUSTEES.

         7.      Defendant FLORIDA INTERNATIONAL UNIVERSITY BOARD OF TRUSTEES

  is an agency of the state of Florida, operating under authority granted by the Board of Governors of

  the State University System of Florida. Following the formation of the Board of Governors of the

  State University System of Florida in 2003, the Board of Governors delegated authority to the

  university boards of trustees to respond to lawsuits against the universities and their employees. At

  all times material hereto, Defendant FLORIDA INTERNATIONAL UNIVERSITY BOARD OF

  TRUSTEES [hereinafter “Florida International University,” “FIU” or “Defendant FIU”] acted

  through its agents, employees, and servants, including Defendant CAL, Defendant MEMBRENO,

  and others.


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         8.      Plaintiff sues Defendant CAL and Defendant MEMBRENO in their individual

  capacities.

                                                 FACTS

         9.      At all times material hereto, Golden Touch Haircuts & Shaves operated a barber shop

  at Florida International University’s Graham Center, located at 11200 SW 8th Street, Miami-Miami-

  Dade County, Florida.

         10.     Santos repairs barber chairs and has substantial expertise in hydraulic machinery.

         11.     Santos was contacted by the proprietor (hereinafter “Oliver”) of the Golden Touch

  Haircuts & Shaves and requested to provide an estimate for the repair of several barber chairs at their

  FIU campus location.

         12.     Upon arriving at the FIU campus Santos asked a parking attendant where he could

  park his work trailer while repairing the barber chairs.

         13.     Santos was directed to park up front near where a blood drive mobile was located.

         14.     Santos then contacted Oliver requested directions to the barbershop.

         15.     Oliver suggested that Santos ask a student for assistance. Accordingly, a male FIU

  student directed Santos through the building to the location of the barbershop.

         16.     Santos determined that the necessary repairs to the barber chairs could be made on-

  site, and advised Oliver accordingly.

         17.     Santos then provided Oliver with an estimate and explained that the repairs would

  take approximately one hour for all six barber chairs.

         18.     Oliver approved the repairs, and Santos retrieved his stools from his work trailer.

         19.     Santos returned to the barber shop and completed the repairs in approximately 45


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  minutes.

          20.       Santos then returned his tools to his trailer and was walking back to the barber shop

  to wash his hands and collect payment for his services when he heard a voice repeatedly shouting,

  “Hey come here,” louder and louder.

          21.       When Santos looked back he observed Defendant MEMBRENO and Defendant CAL.

          22.       At all times material hereto, Defendant MEMBRENO was Defendant CAL’s field

  training officer.

          23.       As Defendant MEMBRENO and Defendant CAL approached, Santos stated: “How

  you doing officers my name is Fabio Santos. I’m the chair man. I’m here repairing the barber chairs

  at the barbershop, inside. If you don't believe me just come with me and I'll show you exactly what

  I’m doing.”

          24.       As Defendant MEMBRENO and Defendant CAL responding by stating: “Let me see

  your ID.”

          25.       Santos explained that his driver’s license was inside his vehicle, and if there was a

  problem the officers could speak with Oliver inside the barbershop, since he was the person who

  hired Santos to repair the barber chairs.

          26.       The officers responded by informing Santos (untruthfully) that he could be arrested

  based on his failure to have his driver’s licence in his possession, or other some form of

  identification.

          27.       Santos then asked if he was being detained, and was advised “No.”

          28.       When Santos was advised he was not being detained, he turned around to walk back

  to the barber shop to speak with Oliver, whereupon he was arrested by at which time he was arrested


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  by MEMBRENO and Defendant CAL in the absence of probable cause that he committed any

  criminal offense.

          29.     When Santos asked what he was being charged with, the officers stated “they would

  figure it out” later.

          30.     Santos was subsequently charged by Defendant CAL and Defendant MEMBRENO

  with the misdemeanor offenses of disorderly conduct and obstruction by disguise, in the absence of

  probable cause.

          31.     Defendant CAL and Defendant MEMBRENO subsequently prepared a joint

  complaint/arrest affidavit and Defendant CAL prepared an incident/investigation report for

  submission to prosecuting authorities, containing false statements and material omissions.

          32.     At all times material hereto, Defendant CAL and Defendant MEMBRENO knew that

  their reports would be relied upon by prosecuting authorities for the commencement and

  continuation of criminal proceedings against Plaintiff.

          33.     At all times material hereto, the reports submitted by Defendant CAL and Defendant

  MEMBRENO to prosecuting authorities contained false statements, insofar as the complaint/arrest

  affidavit and incident/investigation report both falsely alleged that Santos refused to provide his

  name, when in fact, as Defendant CAL and Defendant MEMBRENO knew, Santos never failed or

  refused to provide his name, and correctly identified himself and explained his basis for doing

  business at the Graham Center.

          34.     At all times material hereto, the police reports submitted by Defendant CAL and

  Defendant MEMBRENO to prosecuting authorities omitted the material fact that during a

  consensual encounter a person’s mere refusal to provide a police officer with their name is not a


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  crime under the laws of the state of Florida.

          35.     At all times material hereto, the police reports submitted by Defendant CAL and

  Defendant MEMBRENO to prosecuting authorities omitted the material fact that a person’s failure

  to provide official identification papers to a police officer upon request is not a crime under the laws

  of the state of Florida.

          36.     All criminal charges against Santos were subsequently nolle prosequied, and Plaintiff

  has never been convicted by any prosecuting authority of any criminal offense as a result of his arrest

  by Defendant MEMBRENO and Defendant CAL.

          37.     The conduct of Defendant CAL and Defendant MEMBRENO occurred under color

  of state law.

                                        CAUSES OF ACTION

                               COUNT I
    FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST DEFENDANT CAL,
             INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant CAL, individually, in Count I, Plaintiff states:

          38.     Plaintiff realleges and adopts, as if fully set forth in Count I, the allegations of

  paragraphs 1 through 37.

          39.     Defendant CAL proximately caused the arrest of Plaintiff in the absence of probable

  cause that Plaintiff committed any criminal offense.

          40.     The conduct of Defendant CAL towards Plaintiff was objectively unreasonable, in

  violation of Plaintiff’s clearly established rights under the Fourth and Fourteenth Amendments and

  42 U.S.C. § 1983 to be free from arrest in the absence of probable cause that Plaintiff committed any

  criminal offense.


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         41.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation, including business reputation/goodwill.

         42.     As a further direct and proximate result of the conduct of Defendant CAL, Plaintiff

  suffered loss of his liberty and freedom, mental anguish and loss of capacity for the enjoyment of

  life. Plaintiff’s losses are either permanent or continuing and Plaintiff will suffer the losses in the

  future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay the undersigned a

  reasonable fee for his services, herein.

         WHEREFORE, Plaintiff prays:

                 i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.     Judgment for exemplary damages;

                 iii.    Cost of suit;

                 iv.     Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                 v.      Trial by jury as to all issues so triable; and

                 vi.     Such other relief as this Honorable Court may deem just and appropriate.

                              COUNT II
          FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
  DEFENDANT MEMBRENO, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant MEMBRENO, individually, in Count II, Plaintiff states:

         43.     Plaintiff realleges and adopts, as if fully set forth in Count II, the allegations of

  paragraphs 1 through 37.

         44.     Defendant MEMBRENO proximately caused the arrest of Plaintiff in the absence of

  probable cause that Plaintiff committed any criminal offense.


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         45.     The conduct of Defendant MEMBRENO towards Plaintiff was objectively

  unreasonable, in violation of Plaintiff’s clearly established rights under the Fourth and Fourteenth

  Amendments and 42 U.S.C. § 1983 to be free from arrest in the absence of probable cause that

  Plaintiff committed any criminal offense.

         46.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation, including business reputation/goodwill.

         47.     As a further direct and proximate result of the conduct of Defendant MEMBRENO,

  Plaintiff suffered loss of his liberty and freedom, mental anguish and loss of capacity for the

  enjoyment of life. Plaintiff’s losses are either permanent or continuing and Plaintiff will suffer the

  losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay the

  undersigned a reasonable fee for his services, herein.

         WHEREFORE, Plaintiff prays:

                 i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.     Judgment for exemplary damages;

                 iii.    Cost of suit;

                 iv.     Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                 v.      Trial by jury as to all issues so triable; and

                 vi.     Such other relief as this Honorable Court may deem just and appropriate.

                                   COUNT III
                FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                 DEFENDANT FLORIDA INTERNATIONAL UNIVERSITY

  For his cause of action against Defendant FLORIDA INTERNATIONAL UNIVERSITY, in Count


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  III, Plaintiff states:

          48.      Plaintiff realleges and adopts, as if fully set forth in Count III, the allegations of

  paragraphs 1 through 37.

          49.      Defendant CAL and Defendant MEMBRENO proximately caused Plaintiff’s arrest

  in the absence of probable cause that Plaintiff committed any criminal offense.

          50.      The conduct of Defendant CAL and Defendant MEMBRENO towards Plaintiff was

  unreasonable and unwarranted and without legal authority, and constitutes false arrest/false

  imprisonment of Plaintiff under Florida law.

          51.      The false arrest/false imprisonment of Plaintiff was proximately caused by conduct

  occurring within the course and scope of Defendant CAL and Defendant MEMBRENO’s

  employment as a police officers for Defendant FLORIDA INTERNATIONAL UNIVERSITY.

          52.      As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation, mental suffering and

  damaged reputation, including business reputation/goodwill.

          53.      As a further direct and proximate result of the conduct of Defendant FLORIDA

  INTERNATIONAL UNIVERSITY, Plaintiff suffered loss of his liberty and freedom, mental anguish

  and loss of capacity for the enjoyment of life. The losses are either permanent or continuing and

  Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                   i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                   ii.     Cost of suit;

                   iii.    Trial by jury as to all issues so triable; and


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                 iv.     Such other relief as this Honorable Court may deem just and appropriate.

                                   COUNT IV
                FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                         DEFENDANT CAL, INDIVIDUALLY

  For his cause of action against Defendant CAL, in Count IV, Plaintiff states:

         54.     Plaintiff realleges and adopts, as if fully set forth in Count IV, the allegations of

  paragraphs 1 through 37.

         55.     Defendant CAL roximately caused Plaintiff’s arrest in the absence of probable cause

  that Plaintiff committed any criminal offense.

         56.     The conduct of Defendant CAL towards Plaintiff was unreasonable and unwarranted

  and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff under Florida

  law.

         57.     Alternatively to the allegations set forth in Count III, if the false arrest/false

  imprisonment of Plaintiff was proximately caused by conduct occurring outside the course and scope

  of Defendant CAL’s employment, or was proximately caused by Defendant CAL in bad faith or with

  malicious purpose or in a manner exhibiting wanton and willful disregard of human rights, safety,

  or property, then the false arrest/false imprisonment of Plaintiff was committed by Defendant CAL

  in his individual capacity.

         58.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation, mental suffering and

  damaged reputation, including business reputation/goodwill.

         59.     As a further direct and proximate result of the conduct of Defendant CAL, Plaintiff

  suffered loss of his liberty and freedom, mental anguish and loss of capacity for the enjoyment of


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  life. The losses are either permanent or continuing and Plaintiff will suffer the losses in the future,

  in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and

                  v.      Such other relief as this Honorable Court may deem just and appropriate.

                                     COUNT V
                 FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                       DEFENDANT MEMBRENO, INDIVIDUALLY

  For his cause of action against Defendant MEMBRENO, in Count IV, Plaintiff states:

          60.     Plaintiff realleges and adopts, as if fully set forth in Count IV, the allegations of

  paragraphs 1 through 37.

          61.     Defendant MEMBRENO roximately caused Plaintiff’s arrest in the absence of

  probable cause that Plaintiff committed any criminal offense.

          62.     The conduct of Defendant MEMBRENO towards Plaintiff was unreasonable and

  unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff

  under Florida law.

          63.     Alternatively to the allegations set forth in Count III, if the false arrest/false

  imprisonment of Plaintiff was proximately caused by conduct occurring outside the course and scope

  of Defendant MEMBRENO’s employment, or was proximately caused by Defendant MEMBRENO

  in bad faith or with malicious purpose or in a manner exhibiting wanton and willful disregard of


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  human rights, safety, or property, then the false arrest/false imprisonment of Plaintiff was committed

  by Defendant MEMBRENO in his individual capacity.

          64.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation, mental suffering and

  damaged reputation, including business reputation/goodwill.

          65.     As a further direct and proximate result of the conduct of Defendant MEMBRENO,

  Plaintiff suffered loss of his liberty and freedom, mental anguish and loss of capacity for the

  enjoyment of life. The losses are either permanent or continuing and Plaintiff will suffer the losses

  in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and

                  v.      Such other relief as this Honorable Court may deem just and appropriate.

                               COUNT VI
       MALICIOUS PROSECUTION AGAINST DEFENDANT CAL, INDIVIDUALLY

  For his cause of action against Defendant CAL, individually, in Count VI, Plaintiff states:

          66.     Plaintiff realleges and adopts, as if fully set forth in Count VI, the allegations of

  paragraphs 1 through 37.

          67.     No reasonably cautious law enforcement officer in the position of Defendant CAL

  would have believed Plaintiff was guilty-in-fact of any criminal offense.



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          68.     Defendant CAL proximately caused criminal proceedings to be instituted or continued

  against Plaintiff with malice, and in the absence of probable cause that Plaintiff committed any

  criminal offense, by causing his probable cause affidavit to be submitted to prosecuting authorities

  containing materially false statements and material omissions.

          69.     At all times material hereto, Defendant CAL knew that his probable cause affidavit

  would be submitted to prosecuting authorities, and would be relied upon by prosecuting authorities

  for the institution and continuation of criminal charges against Plaintiff.

          70.     The conduct of Defendant CAL was reckless and without regard to whether the

  institution or continuation of criminal proceedings against Plaintiff were justified.

          71.     The criminal proceedings instituted and/or continued by Defendant CAL reached a

  bona fide resolution in Plaintiff’s favor.

          72.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including business reputation/goodwill.

          73.     As a further direct and proximate result of the conduct of Defendant CAL, Plaintiff

  suffered loss of liberty and freedom, mental anguish and loss of capacity for the enjoyment of life.

  It was also necessary for Plaintiff to retain the services of a criminal defense attorney to represent

  him in the criminal proceeding instituted or continued by Defendant CAL, and to pay his attorney

  a reasonable fee for his services and costs. Plaintiff’s losses are either permanent or continuing and

  Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  a.      Judgment for compensatory damages in excess of $ 15,000 dollars;


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                 b.      Judgment for exemplary damages;

                 c.      Cost of suit;

                 d.      Trial by jury as to all issues so triable; and

                 e.      Such other relief as this Honorable Court may deem just and appropriate.

                                     COUNT VIII
                           MALICIOUS PROSECUTION AGAINST
                          DEFENDANT MEMBRENO, INDIVIDUALLY

  For his cause of action against Defendant MEMBRENO, individually, in Count VIII, Plaintiff states:

         74.     Plaintiff realleges and adopts, as if fully set forth in Count VIII, the allegations of

  paragraphs 1 through 37.

         75.     No reasonably cautious law enforcement officer in the position of Defendant

  MEMBRENO would have believed Plaintiff was guilty-in-fact of any criminal offense.

         76.     Defendant MEMBRENO proximately caused criminal proceedings to be instituted

  or continued against Plaintiff with malice, and in the absence of probable cause that Plaintiff

  committed any criminal offense, by causing his probable cause affidavit to be submitted to

  prosecuting authorities containing materially false statements and material omissions.

         77.     At all times material hereto, Defendant MEMBRENO knew that his probable cause

  affidavit would be submitted to prosecuting authorities, and would be relied upon by prosecuting

  authorities for the institution and continuation of criminal charges against Plaintiff.

         78.     The conduct of Defendant MEMBRENO was reckless and without regard to whether

  the institution or continuation of criminal proceedings against Plaintiff were justified.

         79.     The criminal proceedings instituted and/or continued by Defendant MEMBRENO

  reached a bona fide resolution in Plaintiff’s favor.


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          80.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including business reputation/goodwill.

          81.     As a further direct and proximate result of the conduct of Defendant MEMBRENO,

  Plaintiff suffered loss of liberty and freedom, mental anguish and loss of capacity for the enjoyment

  of life. It was also necessary for Plaintiff to retain the services of a criminal defense attorney to

  represent him in the criminal proceeding instituted or continued by Defendant MEMBRENO, and

  to pay his attorney a reasonable fee for his services and costs. Plaintiff’s losses are either permanent

  or continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  b.      Judgment for exemplary damages;

                  c.      Cost of suit;

                  d.      Trial by jury as to all issues so triable; and

                  e.      Such other relief as this Honorable Court may deem just and appropriate.

                                    DEMAND FOR JURY TRIAL

          82.     Plaintiff demands trial by jury on all issues so triable as of right.

                  DATED this      7th     day of April, 2017.




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